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                    THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

JOSEPH F. BEGGINS,                  §
                                    §
      Plaintiff,                    §
                                    §
v.                                  § CIVIL ACTION NO. 4:17-cv-1541
                                    §         (JURY)
CBRE CAPITAL MARKETS                §
OF TEXAS, L.P.,                     §
                                    §
      Defendant.                    §

                   PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE LEE ROSENTHAL:

      1.    Plaintiff Joseph F. Beggins (“Beggins") was formerly

employed by Defendant CBRE Capital Markets of Texas, L.P. (“CBRE”)

as the Chief Executive Officer of GEMSA Loan Services, L.P., an

entity formed by a partnership between a CBRE subsidiary and GECIA

Holdings, Inc.      When the partnership dissolved in 2015, Beggins

agreed to oversee the transition in return for CRBE’s promise to

enter into a written retention agreement providing, in part, for a

significant retention bonus.            When it became clear that CBRE did

not intend to enter into the promised retention agreement, Beggins

made a written claim for benefits under CRBE’s Severance Plan which

was denied. Accordingly, Beggins brings this action to recover the

damages, unpaid benefits and attorneys' fees owed to him under

Texas   common   law   as   well   as    the   Employees   Retirement   Income

Security Act (“ERISA”), 29 U.S.C. §            1132(a)(1)(B) (2017).
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                          JURISDICTION AND VENUE

      2.    This Court has subject matter jurisdiction under 29

U.S.C. § 1132(f) (2017) and 28 U.S.C. § 1331 (2017).

      3.    Beggins brings this complaint in the district in which

CBRE did business and where a substantial portion of the conduct

charged herein occurred. Accordingly, venue is proper in this

district pursuant to 28 U.S.C. § 1391(b) (2017).

                                    PARTIES

      4.    Beggins is an individual residing in Houston, Harris

County, Texas.

      5.    CBRE is a Texas limited partnership located and doing

business in Houston, Harris County, Texas.            CBRE has answered and

appeared.

                              BACKGROUND FACTS

      6.    CBRE   provides     real   estate    funding    and   services    to

developers and owners of commercial real estate properties.

      7.    Pursuant to a secondment agreement, Beggins was seconded

by CBRE to GEMSA Loan Services, L.P., nka CBRE Loan Services, Inc.

(“GEMSA”), a partnership between CBRE and GECIA Holdings, Inc.

(“GECIA”)1 (the “Partnership”), from August of 2001 until his

termination effective January 1, 2016, as Chief Executive Officer.

      8.    In 2015, GE announced that it intended to exit the



      1     GECIA is a wholly-owned direct subsidiary of General Electric Capital
Services, Inc., which in turn is a wholly-owned, direct subsidiary of General
Electric Company (collectively, “GE”).

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Partnership. Subsequently, CBRE presented Beggins with a Retention

Agreement dated July 22, 2015 (the “Retention Agreement”)2 by which

Beggins    would   be   entitled    to   receive     certain     payments      (the

“Retention Payment”) in exchange for, without limitation, execution

of the Retention Agreement, his continued employment through the

Retention Period, and execution of CBRE’s General Release and

Agreement (the “Release”) “at the end of [his] employment,” which

date was not specified but no later than December 31, 2015.

     9.     The Retention Payment was to be, among other things, in

lieu of any bonus consideration [Beggins] may have been eligible

for under any GEMSA or CBRE bonus plan or CRBE’s Severance Policy.3

     10.     At the time of these discussions, Beggins had been

contacted     regarding      alternative       employment        opportunities.

Additionally,      Beggins   was    eligible   to    participate     in      CBRE’s

Severance Plan.4     Nevertheless, Beggins relied on the promises and

representations made by CBRE and continued to provide the agreed

upon services to CBRE.

     11.    Initially, Beggins was not provided with a copy of the

Release although the Retention Agreement stated that a “form copy

of the [Release] is attached.”           Reference here to the Retention



      2     Undefined capitalized terms shall have the same meaning here as
defined in the Retention Agreement.

      3     Historically, Beggins    consistently   received   significant    annual
performance bonus compensation.

      4      CRBE’s Severance Plan was established in 2008 and administered
through CRBE’s human resources department.

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Agreement includes the Release.

     12.    Beggins proposed to CBRE that the Retention Agreement be

edited to, without limitation, correct some factual items, identify

GE as a partner in GEMSA, and require CBRE to affirm that it had

GE’s agreement (as CBRE’s partner in the Partnership) to execute

the documents.

     13.    Thereafter, Jeff Majewski (“Majewski”), CBRE’s then Chief

Operating Officer, advised Beggins to revise the document in

redline format to reflect his proposed modifications and submit

them to CBRE.    To that end, Beggins edited the Retention Agreement

and returned it to Majewski who told Beggins he would review his

edits “with the partners and circle back ....”

     14.    On August 7, 2015, Beggins received a revised version of

the Retention Agreement from Majewski.          Several telephone calls

between Beggins, Majewski and Chris Shamaly (“Shamaly”), CBRE’s

Division General Counsel at the time, followed attempting to

clarify certain defined terms contained in the Retention Agreement

and/or Release relating to “affiliates,” Agents” and “Released

Parties.”

     15.    As CBRE was unable to respond definitively to Beggins’

questions and concerns, Shamalay suggested that, in order to remove

any doubt as to whether parties other than CBRE, including GE, were

included as released parties, Shamalay directed Beggins to revise

the Retention Agreement to address his concerns and submit it to


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CBRE for further consideration.

     16.    As instructed, on August 12, 2015, Beggins forwarded his

edits to Majewski and Shamaly, specifically, language specifically

excluding   “any     General   Electric   or   General    Electric   Capital

Corporation employees, agents, subsidiary and affiliated entities,

benefit     plans,      benefit     plans’      sponsors,      fiduciaries,

administrators, affiliates, and all successors and assigns of any

of them.”   As before, there were no substantive revisions to those

sections of the Retention Agreement relating to Beggins’ continued

(i) commitment to the Partnership; (ii) responsibilities during the

Retention Period; or (iii) the Retention Payment.

     17.    Majewski informed Beggins that his edits had been sent on

to Nadine Chang (“Chang”), Vice President & Assistant General

Counsel for CBRE Legal Services, for review and approval.

     18.    Approximately one (1) week later, Beggins followed up

with Majewski with regard to the status of Chang’s review of the

Retention Agreement.     Majewski instructed Beggins to contact Chang

directly.

     19.    On August 24, 2015, Chang informed Beggins that she hoped

to be able to get back to him shortly in connection with his

proposed edits to the Retention Agreement.

     20.    Beggins continued to follow up with CBRE on the status of

the Retention Agreement in order to obtain some “clarity on the

question of the retention of [his] services.”            However, there was


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no response from CBRE until September 16, 2016, when Chang sent

Beggins the following communication:

     “Apologies for the delay. We will be updating the
     retention and general release agreement that you marked
     up and returned to us. We will not accept the change that
     you made that indicates that GE Corporation and GE
     Capital are excluded from the arbitration agreement or
     release, however, I believe we are close to agreement on
     the other changes that you made.”

     21.    Based on Chang’s representations above, Beggins expected

to receive a document for signature incorporating his proposed

revisions   but   for    the   exclusionary    GE   language   which   he   was

prepared to execute and return to CBRE.

     22.    Throughout    his   discussions     with    CBRE   attempting   to

finalize the Retention Agreement, Beggins continued to provide

services to the Partnership as CEO of GEMSA pursuant to the

expectations outlined in the Retention Agreement.

     23.    Simply put, Beggins performed all conditions precedent in

order to be entitled to receive the Retention Payment at the

conclusion of the Retention Period.           As such, Beggins anticipated

that he would be compensated, as agreed.

     24.    However, CBRE, despite its representations and promises

to the contrary, failed and refused to pay Beggins the Retention

Payment despite Beggins’ performance under the Retention Agreement.

     25.    As a result, Beggins made a written claim for benefits

under CBRE’s Severance Plan (the “Plan”).              The Plan is a welfare

benefit plan offered to CBRE employees and administered by CBRE.


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     26.   To date, Beggins has not received either the promised

Retention Payments or any benefits under the Severance Plan.

                         FIRST CAUSE OF ACTION

                     Negligent Misrepresentation

     27.   To establish a claim for negligent misrepresentation, a

plaintiff must show that:

     a.    a defendant made a representation to a
           plaintiff in the course of the defendant's
           business or in a transaction in which the
           defendant had an interest;

     b.    the defendant supplied false information for
           the guidance of others;

     c.    the defendant did not exercise reasonable care
           or competence in obtaining or communicating
           the information;

     d.    the plaintiff justifiably         relied    on   the
           representation; and

     e.    the defendant's negligent misrepresentation
           proximately caused the plaintiff's injury.

     28.   As more particularly described above, CBRE’s conduct

constitutes negligent misrepresentation under Texas law, which

conduct was directly and approximately the cause of actual damages

to Beggins.

                        SECOND CAUSE OF ACTION

                          Promissory Estoppel

     29. In addition, and without waiver of the foregoing, CBRE is

liable to Beggins for his damages based on promissory estoppel

which requires that a plaintiff demonstrate the following:


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     a.    the defendant made a promise to the plaintiff;

     b.    the plaintiff reasonably and substantially
           relied on the promise to his detriment;

     c.    the plaintiff’s reliance was forseeable by the
           defendant; and

     d.    injustice can be avoided only by enforcing the
           defendant’s promise.

     30.   As more particularly described in detail above, CBRE

promised Beggins that if he refrained from participating in the

Plan, did not seek payment of his bonus, and continued to perform

work on behalf of CBRE, it would enter into a written Retention

Agreement providing for certain Retention Payments to Beggins

through the Retention Period.             Otherwise, Beggins would have

collected the benefits offered to CBRE employees under the Plan and

pursued his opportunities for subsequent employment.

     31.   Instead, Beggins reasonably and substantially relied to

his detriment on CBRE’s promises and representations in that

Beggins refrained from accepting other employment opportunities,

refrained from immediately claiming benefits under the Plan, and

continued to perform work on behalf of CBRE.         In addition, and in

connection with his decision to continue his employment with CBRE,

Beggins further relied on CBRE’s representations that his agreement

would be reduced to writing.

     32.   As a result of Beggins’ detrimental reliance on CBRE’s

representations and promises, Beggins is entitled to recover his

actual damages, including the bonus payments and/or severance

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payments he would have otherwise received as well as any lost wages

Beggins would have earned in subsequent employment.

     33.        Additionally,    Beggins    is    entitled   to    reasonable

attorneys' fees and the costs of this action.

                          THIRD CAUSE OF ACTION

                        Denial of ERISA Benefits

     34.   As    an   employee   of   CBRE,      Beggins   was    entitled   to

participate in CBRE’s Severance Plan. In that regard, Beggins made

a written claim for benefits under the Plan which was denied.                As

such, Beggins seeks to recover all benefits due to him under the

Plan pursuant to 29 U.S.C. § 502(a)(1)(B)(2017).

     35.        Additionally,    Beggins    is    entitled   to    reasonable

attorneys' fees and costs of this action pursuant to 29 U.S.C. §

502(g)(1) (2017).

                         FOURTH CAUSE OF ACTION

                        Breach of Oral Agreement

     36.   CBRE promised to pay Beggins the Retention Payment if he

agreed to oversee the windup of GEMSA from July, 2015 through

December 31, 2015.       Although Beggins performed his obligations

pursuant to the agreement, he was not paid the Retention Payment

promised by CBRE.

     37.   As such, CBRE failed and refused to honor the terms of

the agreement. CBRE’s breach of the oral agreement has resulted in

harm and damages to Beggins for which he now sues.


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                               JURY DEMAND

     38.   Beggins requests a trial by jury.

                                  PRAYER

     WHEREFORE, PREMISES CONSIDERED, Beggins prays that Defendant

CBRE Capital Markets of Texas, L.P., be cited to appear and answer

and on final trial Beggins be awarded judgment against Defendant

CBRE Capital Markets of Texas, L.P., as follows:

     a.    actual damages;

     b.    reasonably attorneys fees;

     c.    costs of Court;

     d.    prejudgment     and    post-judgment
           interest on the amounts awarded
           above at the highest rate allowed by
           law; and

     e.    such additional relief to which
           Beggins may show himself justly
           entitled.

                                   Respectfully submitted,


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                        CERTIFICATE OF DELIVERY

     I hereby certify that a true and correct copy of the foregoing
Plaintiff’s First Amended Complaint was sent to opposing counsel on
November 30, 2017, properly addressed as follows by fax and email:

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                                    /S/ Mark Siurek
                                   Mark Siurek




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